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 6
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 8
                               UNITED STATES DISTRICT COURT
 9
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
10

11                                            )    Docket No.: _
     JENNIFER JONES,                          )
12                                            )    COMPLAINT for violations of the
                  Plaintiff,                  )    Fair Debt Collection Practices Act, 15
13                                            )    U.S.C. § 1692 et seq. and the Rosenthal
            vs.                               )    Fair Debt Collections Practices Act,
14                                            )    Cal. Civ. Code § 1788 et seq. and
     VIRTUOSO SOURCING GROUP,                 )    DEMAND FOR JURY TRIAL
15                                            )
     LLC,                                     )
16
                  Defendant
17

18          Plaintiff Jennifer Jones ("Plaintiff") by and through her attorneys, The Law
19
     Offices of Jonathan A. Stieglitz, as and for her Complaint against Defendant
20

21   Virtuoso Sourcing Group, LLC ("Defendant") respectfully sets forth, complains
22
     and alleges, upon information and belief, the following:
23

24                               JURISDICTION AND VENUE
25
        1. The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331, as
26
        well as 15 U.S.C. § 1692 et. seq. and 28 U.S.C. § 2201. The Court also has
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 1
     pendant jurisdiction over the State law claims in this action pursuant to 28

 2   U.S.C. § 1367(a).
 3
     2. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2).
 4

 5   3. Plaintiff brings this action for damages and declaratory and injunctive relief
 6
     arising from the Defendant's violations of 15 U.S.C. § 1692 et. seq., commonly
 7

 8   known as the Fair Debt Collections Practices Act (“FDCPA”), and Cal. Civ.
 9
     Code § 1788 et seq., commonly known as the Rosenthal Fair Debt Collections
10
     Practices Act (“RFDCPA”).
11

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13
                                       PARTIES
14

15   4. Plaintiff is a resident of the State of California, residing in the County of San
16
     Bernardino.
17

18
     5. Defendant is a "debt collector" as the phrase is defined in 15 U.S.C.

19   § 1692(a)(6) and used in the FDCPA, with an address at 4500 Cherry Creek
20
     Drive South, Suite 300, Glendale, CO.
21

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23
                             FACTUAL ALLEGATIONS
24

25   6. Plaintiff incorporates by reference all of the above paragraphs of this
26
     Complaint as though fully stated herein with the same force and effect as if the
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     same were set forth at length herein.
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     7. On information and belief, on a date better known to Defendant, Defendant

 2   began collection activities on an alleged consumer debt from the Plaintiff
 3
     (“Alleged Debt”).
 4

 5   8. The Alleged Debt was incurred as a financial obligation that was primarily
 6
     for personal, family or household purposes and is therefore a “debt” as that term
 7

 8   is defined by 15 U.S.C. § 1692a(5).
 9
     9. The reporting of a debt to a credit reporting agency by a debt collector is a
10
     communication covered by the FDCPA.
11

12   10.Defendant reported an alleged debt on the Plaintiff’s credit report.
13
     11.Plaintiff disputed this debt directly with the Defendant with a dispute letter
14

15   on September 3, 2014.
16
     12.Plaintiff examined her credit report again on November 5, 2014 and found
17

18
     that Defendant had re-reported the credit account to the bureau(s). When

19   Defendant re-reported the credit account after it received Plaintiff's dispute
20
     letter, Defendant failed to list the account as ''disputed by consumer'' despite
21

22   being required to do so by the FDCPA.
23
     13.As a result of Defendant's improper debt collection practices described
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25   above, Plaintiff has been damaged.
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 1
                            FIRST CAUSE OF ACTION
                             (Violations of the FDCPA)
 2

 3   14.Plaintiff incorporates by reference all of the above paragraphs of this
 4
     Complaint as though fully state herein with the same force and effect as if the
 5

 6
     same were set forth at length herein.

 7   15.Defendant's debt collection efforts attempted and/or directed towards
 8
     Plaintiff violate various provisions of the FDCPA, including but not limited to
 9

10   15 U.S.C. §§ 1692d, 1692e(2), 1692e(5), 1692e(8), and 1692f.
11
     16.As a result of the Defendant's violations of the FDCPA, Plaintiff has been
12

13
     damaged and is entitled to damages in accordance with the FDCPA.
14

15                         SECOND CAUSE OF ACTION
                            (Violations of the RFDCPA)
16

17   17.Plaintiff incorporates by reference all of the above paragraphs of this
18
     Complaint as though fully state herein with the same force and effect as if the
19

20   same were set forth at length herein.
21
     18.The RFDCPA requires debt collectors to comply with the FDCPA, and a
22

23
     violation of the FDCPA is also a violation of the RFDCPA. Cal. Civ. Code

24   § 1788.17.
25
     19.The remedies under the FDCPA and RFDCPA are cumulative, and Plaintiff
26

27   is entitled to damages under both acts.
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 1
     20.Upon information and belief, Defendant willfully and knowingly committed

 2   the violations of the FDCPA and RFDCPA described herein, and is entitled to
 3
     statutory damages pursuant to Cal. Civ. Code § 1788.30(b).
 4

 5

 6
                           DEMAND FOR TRIAL BY JURY
 7

 8   21.Plaintiff demands and hereby respectfully requests a trial by jury for all
 9
     claims and issues this complaint to which Plaintiff is or may be entitled to a jury
10
     trial.
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 1
                                 PRAYER FOR RELIEF
 2   WHEREFORE, Plaintiff demands judgment from the Defendant as follows:
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           a)    For actual damages provided and pursuant to 15 U.S.C. § 1692k(a)(1)
 4

 5   and Cal. Civ. Code § 1788.30(a);
 6
           b)    For statutory damages provided and pursuant to 15 U.S.C.
 7

 8   § 1692k(a)(2)(A) and Cal. Civ. Code § 1788.30(b);
 9
           c)    For attorney fees and costs provided and pursuant to 15 U.S.C.
10
     § 1692k(a)(3) and Cal. Civ. Code § 1788.30(c);
11

12         d)    A declaration that the Defendant’s practices violated the FDCPA and
13
     the RFDCPA; and
14

15         e)    For any such other and further relief, as well as further costs, expenses
16
     and disbursements of this action as this Court may deem just and proper.
17

18

19   Dated: October 28, 2015
20                                                       THE LAW OFFICES OF
                                                         JONATHAN A. STIEGLITZ
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22                                                By:          /s/ Jonathan A Stieglitz
23
                                                         Jonathan A Stieglitz

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